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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,    §
      Plaintiffs,                      §
                                       §   Case No. 5:21-cv-844-XR
v.                                     §   [Lead Case]
                                       §
THE STATE OF TEXAS, et al.,            §
      Defendants.                      §

MOTION TO DISMISS THE FIRST AMENDED COMPLAINT OF LA UNIÓN DEL
                    PUEBLO ENTERO, ET AL.
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                                               INTRODUCTION

        In their First Amended Complaint (ECF 140), the LUPE Plaintiffs still fail to address

sovereign immunity and standing claim-by-claim and provision-by-provision, as Fifth Circuit

precedent requires. They assert claims against the Secretary of State, Attorney General, and now the

State of Texas, but they have failed to plead facts supporting an exception to sovereign immunity. Nor

have they plausibly alleged standing to assert their claims.

        The LUPE Plaintiffs’ claims also fail as a matter of law. They cannot assert an Americans with

Disabilities Act (“ADA”) claim without identifying particular voters with identified disabilities. And

their Voting Rights Act (“VRA”) claims fail because they, as non-voters, do not have implied causes

of action. So if the Court concludes it has jurisdiction, it should dismiss Counts IV-VI and Count IX

for the reasons explained below. See Fed. R. Civ. P. 12(b)(6). The LUPE Plaintiffs’ amendments in

response to the State Defendants’ original motion to dismiss (i.e., dropping the Governor and one of

eleven counts from the original complaint) are not enough to meet their pleading burden. 1

                                                 ARGUMENT

I. Plaintiffs Cannot Satisfy Ex parte Young

        Sovereign immunity “prohibits suits against state officials or agencies that are effectively suits

against a state.” City of Austin v. Paxton, 943 F.3d 993, 997 (5th Cir. 2019). Although “Ex parte Young

allows injunctive or declaratory relief against a state official in her official capacity,” it applies only

when “the official has a sufficient ‘connection’ with the enforcement of the allegedly unconstitutional

law.” Mi Familia Vota v. Abbott, 977 F.3d 461, 467 (5th Cir. 2020).

        Fifth Circuit “precedents distill three rules”: (1) “it is not enough that the state official was

merely the but-for cause of the problem that is at issue in the lawsuit”; (2) “where a statute is being


1 Of course, the State Defendants believe that Plaintiffs’ other claims are meritless as well. But for the sake of
judicial efficiency, they will address those claims and other issues in subsequent motions, if necessary. See ECF
31, Order to Consolidate, La Unión del Pueblo Entero v. Abbott, No. 5:21-cv-844-XR (W.D. Tex. Sept. 30, 2021).

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challenged, . . . a provision-by-provision analysis is required”; and (3) “in the particular context of

Texas elections . . . the Secretary’s role varies, so [the plaintiffs] must identify the Secretary’s specific

duties within the particular statutory provision.” Tex. Democratic Party v. Hughs, 860 F. App’x 874, 877–

78 (5th Cir. 2021) (per curiam) (citing Tex. Democratic Party v. Abbott, 978 F.3d 168, 175, 179–81 (5th

Cir. 2020)).

        At the pleading stage, “the plaintiffs’ burden is to allege a plausible set of facts establishing

jurisdiction.” Physician Hosps. of Am. v. Sebelius, 691 F.3d 649, 652 (5th Cir. 2012) (citing Davis v. United

States, 597 F.3d 646, 649–50 (5th Cir. 2009)). During the status conference, the parties discussed this

issue. The State Defendants argued that “the plaintiffs haven’t met their burden of specific allegations

about what conduct from the defendants they are complaining of.” Ex. A at 16. The Court sent “clear

signals to all the plaintiff groups, you need to further amend your complaints here to address these

challenges.” Id. But the LUPE Plaintiffs did not adequately address this problem in their amended

complaint. They still fail to allege relevant enforcement roles for the Secretary of State and Attorney

General on a claim-by-claim and provision-by-provision basis.

               A. Plaintiffs Have Not Plausibly Alleged an Enforcement Role for the Secretary

        Sovereign immunity precludes the LUPE Plaintiffs’ claims against the Secretary of State

because he does not have a sufficient connection with enforcement of the challenged SB1 provisions.

As the Fifth Circuit explained, “in the particular context of Texas elections, . . . the Secretary’s role

varies,” so Plaintiffs “must identify the Secretary’s specific duties within the particular statutory

provision.” Tex. Democratic Party, 860 F. App’x at 877–78 (citing Tex. Democratic Party, 978 F.3d at 179–

80). The LUPE Plaintiffs fail to address the Secretary’s enforcement authority “provision-by-

provision” as required. Id. at 877.

        The LUPE Plaintiffs assert Counts I–X against the Secretary. In these counts, they challenge

SB1 §§ 2.04, 2.07, 2.10, 3.04, 3.09, 3.10, 3.12, 3.13, 4.01, 4.06, 4.07, 4.09, 4.10, 5.07, 5.11, 5.13, 6.01,


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6.03–6.07, and 7.04. See ECF 140 ¶¶ 217, 230, 244, 257, 268, 274, 288, 304, 313, 325. The LUPE

Plaintiffs fail to allege the Secretary’s connection to enforcement of these provisions. The Secretary,

in fact, does not enforce them.

        For example, the LUPE Plaintiffs allege that §§ 2.04 and 2.10 require registrars to provide

information to the Secretary and others, and that this “will have a chilling effect on voter registration”

and “facilitate investigation and prosecution of perfectly legal activity by voters.” Id. ¶¶ 141–43, 220.

Neither provision authorizes the Secretary to undertake an investigation or prosecution. Cf. SB1 § 2.10

(referring to “an investigation” by “the county or district attorney”). An injunction against the

Secretary could not prevent any allegedly injurious enforcement. The Secretary is a mere recipient of

information. It is difficult to imagine how the Secretary could be enjoined from receiving information.

As for § 2.07, the Secretary sends information to voter registrars, but the LUPE Plaintiffs concede

that voter registrars determine whether a voter is removed from the voter registration list. See ECF

140 ¶ 144. Sharing information is not enforcement, as it does not involve “compulsion or constraint.”

City of Austin, 943 F.3d at 1000.

        SB1 §§ 3.04 and 3.13 relate to the location of polling places, but the Secretary does not

designate polling locations. See Tex. Democratic Party v. Hughs, 997 F.3d 288, 291 (5th Cir. 2021) (finding

that “[t]he Secretary plays no role”); see also Tex. Elec. Code §§ 43.002–43.004 (assigning this

responsibility to local officials). The Secretary does not enforce §§ 3.09, 3.10, or 3.12 either. These

provisions amend Texas Election Code §§ 85.005, 85.006(b) and (e), and 85.061(a), respectively, which

are enforced by the early voting clerk. See Tex. Elec. Code §§ 83.001–83.0012 (identifying whom is the

early voting clerk and specifying that “[t]he early voting clerk shall conduct the early voting in each

location”); see also id. §§ 85.005, 85.006(b), 85.006(e), 85.061(a) (specifying how the early voting clerk

shall conduct early voting in certain elections).

        The Secretary also does not enforce the challenged provisions relating to watchers, that is,


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§§ 4.01, 4.06, 4.07, 4.09, and 4.10. These provisions do not specify an enforcement role for the

Secretary. Id. §§ 32.075, 33.051, 33.056, 33.061, 33.063. The only alleged connection between the

Secretary and these provisions in the LUPE Plaintiffs’ amended complaint is one paragraph

concerning a guide on the Secretary’s website. ECF 140 ¶ 34. SB1 does not require the Secretary to

publish that guide. The LUPE Plaintiffs misquote Texas Election Code § 33.008, which was added by

SB1 § 4.04. Section 4.04 requires that the Secretary “develop and maintain a training program for

watchers,” but the LUPE Plaintiffs have not explained how providing online training and a

certification upon completion to watchers has any relation to the harm they allege. See Mi Familia Vota,

977 F.3d at 465 (explaining that the Secretary is not a proper defendant where “[d]irecting the Secretary

not to enforce [the challenged provision] would not afford the Plaintiffs the relief that they seek”).

        As to the challenged voting-by-mail provisions—§§ 5.07, 5.11, 5.13—the Secretary does not

enforce these either. As the LUPE Plaintiffs admit, the early voting clerk enforces the ballot-

application requirement of § 5.07. Tex. Elec. Code § 86.001(c); see ECF 140 ¶ 130. The LUPE

Plaintiffs also admit that the signature verification committee enforces the carrier-envelope

requirement of § 5.11. Tex. Elec. Code § 87.027(i); see ECF 140 ¶ 139. The early voting ballot board

enforces the carrier-envelope requirement of § 5.13, not the Secretary. Tex. Elec. Code § 87.041(a).

        The Secretary also does not enforce the challenged assistance-of-voters provisions in §§ 6.01

and 6.03–6.07. The LUPE Plaintiffs admit that local officials, not the Secretary, enforce §§ 6.01, 6.03–

6.05, and 6.07. ECF 140 ¶ 46. The LUPE Plaintiffs complain that § 6.01 “discourages voter assistance”

because individuals “must complete and sign a form.” Id. ¶ 110. The LUPE Plaintiffs do not mention

any relevant role for the Secretary (just receiving the form), see id., and in fact, the Secretary’s only

potentially relevant role is to “prescribe the form.” Tex. Elec. Code § 64.009(h). But the LUPE

Plaintiffs are not complaining about the design of the form. Instead, they complain about having to

“complete and sign [the] form,” which will allegedly “deter individuals from giving these rides.” ECF


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140 ¶ 110. The LUPE Plaintiffs do not discuss who enforces the requirement if someone refuses to

fill out the form (not the Secretary), nor do they claim that the Secretary will otherwise require them

to fill out the form. Under Texas law, the form is “provided by” a local “election officer.” Tex. Elec.

Code § 64.009(f).

        SB1 § 6.04 requires an oath, but it is “an election officer at the polling place,” not the Secretary,

that administers and enforces the oath requirement. Id. § 64.034; see also id. §§ 32.071 (“The presiding

judge is in charge of and responsible for the management and conduct of the election at the polling

place . . . .); 32.074 (“An election judge or clerk may administer the oath required or authorized to be

made at a polling place.”).

        Concerning § 6.05, the LUPE Plaintiffs complain that requiring assistors “to fill out additional

information on the mail ballot carrier envelope . . . will deter assistors and increase the risk that the

ballot will be rejected.” ECF 140 ¶ 107. Once again, SB1 does not delegate to the Secretary authority

to enforce this requirement. Tex. Elec. Code § 86.010. The LUPE Plaintiffs complain that § 6.06 will

“deter . . . assistors who fear prosecution.” ECF 140 ¶ 109. However, the Secretary is not authorized

to prosecute violations of § 6.06. See Tex. Elec. Code § 86.0105. SB1 § 6.07 merely requires that space

appear on the carrier envelope for “indicating the relationship . . . to the voter” of “a person other

than the voter who deposits the carrier envelope in the mail or with a common or contract carrier.”

Id. § 86.013(b). The LUPE Plaintiffs complain that § 6.07 creates “additional burdensome steps” and

subjects voters to criminal penalties, ECF 140 ¶ 320, but the Secretary is not delegated authority to

enforce this provision either. Tex. Elec. Code § 86.013(b).

        The final provision of SB1 that the LUPE Plaintiffs challenge is § 7.04. Section 7.04 adds

§§ 276.015–.019 to the Election Code, but the Secretary is not authorized to enforce those provisions.

See id. §§ 276.015–.019.

        As they did in their original complaint, the LUPE Plaintiffs improperly seek to rely on general


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statutes concerning the Secretary’s authority. It is not enough to cite Texas Election Code § 31.001,

which provides that the Secretary “is the chief election officer of the state.” ECF 140 ¶ 22. Nor is it

sufficient to rely on general statutes granting the Secretary election oversight authority. See id. ¶¶ 24–

25, 29–30 (citing Tex. Elec. Code §§ 31.003–.005). Plaintiffs must “identify the Secretary’s specific

duties within the particular statutory provision” at issue. Tex. Democratic Party, 860 F. App’x at 877–78.

By omitting the required “provision-by-provision analysis,” id., the LUPE Plaintiffs fail to sufficiently

allege how enjoining the Secretary will prevent the alleged harm from the challenged SB1 provisions.

See Mi Familia Vota, 977 F.3d at 465.

        The LUPE Plaintiffs include allegations regarding the Secretary’s authority under other

sections of the Texas Election Code, but in each instance, they fail to sufficiently allege how enjoining

the Secretary from acting pursuant to the authority granted by those general statutes will prevent the

alleged harm. See ECF 140 ¶¶ 26–35. For example, the LUPE Plaintiffs allege that, by monitoring

registrars, the Secretary “directly affect[s] the amount of the new civil penalty for which the registrar

becomes liable,” id. ¶ 26, but the Secretary is not authorized to recover that penalty. See Tex. Elec.

Code § 18.065. And, as explained above, although the Secretary designs some forms, the LUPE

Plaintiffs fail to allege how enjoining the Secretary from that task will prevent the alleged harm from

the challenged SB1 provisions. See ECF 140 ¶¶ 27–28. The LUPE Plaintiffs’ allegations regarding the

Secretary’s general authority to perform inspections, pass along information to others, and provide

training are similarly lacking. See id. ¶¶ 29–34.

            B. The Attorney General is Also Immune

        Sovereign immunity also bars the LUPE Plaintiffs’ claims against the Attorney General. Again,

allegations that the Attorney General has a general duty to enforce state laws, id. ¶¶ 36–38, are not

enough to satisfy Ex parte Young. See Tex. Democratic Party v. Abbott, 961 F.3d 389, 401–02 (5th Cir.

2020). A “provision-by-provision analysis is required” to show that a state official has the requisite


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connection to each challenged provision. Tex. Democratic Party, 860 F. App’x at 877. The LUPE

Plaintiffs assert claims against the Attorney General based on numerous SB1 provisions, see ECF 140

¶¶ 217, 230, 244, 257, 268, 274, 288, 304, 313, 325, but for most of these provisions, they fail to

address the Attorney General’s enforcement role at all. By failing to include these necessary allegations,

the LUPE Plaintiffs have not satisfied their burden to show that the Attorney General is a proper

defendant.

        Where the LUPE Plaintiffs do attempt to address the Attorney General’s enforcement role,

their allegations fall short. The LUPE Plaintiffs complain that SB1 § 2.04 “will have a chilling effect

on voter registration” due to the “added threat of criminal prosecution.” ECF 140 ¶ 141. But the

Attorney General does not enforce § 2.04. Under that provision, he merely receives information. See

SB1 § 2.04 (codifying Tex. Elec. Code § 15.028). As explained above, enforcement is defined by

“compulsion or constraint,” City of Austin, 943 F.3d at 1000, but § 2.04 does not empower the Attorney

General to compel or constrain anyone. Because “the requisite connection is absent,” the Ex parte

Young analysis ends there. In re Abbott, 956 F.3d 696, 709 (5th Cir. 2020) (citing City of Austin, 943 F.3d

at 998), vacated as moot sub nom. Planned Parenthood Ctr. for Choice v. Abbott, 141 S. Ct. 1261 (2021).

        The LUPE Plaintiffs allege that § 6.01 “will deter individuals from giving” rides to the polls to

seven or more voters—even though doing so “is not illegal” under SB1—because such drivers “must

complete and sign a form.” ECF 140 ¶ 110. The Attorney General has no role in that process, except

that the form is “available to the attorney general for inspection upon request.” SB1 § 6.01 (codifying

Tex. Elec. Code § 64.009(g)). That is not “compulsion or constraint.” City of Austin, 943 F.3d at 1000.

        In relation to other provisions of SB1, the LUPE Plaintiffs allege that the Attorney General

“prosecutes potential violations of Texas election law.” ECF 140 ¶¶ 289, 305, 314, 326. But that

ignores a recent ruling from the Texas Court of Criminal Appeals. Just last month, that court held that

Texas Election Code § 273.021—which provides that “[t]he attorney general may prosecute a criminal


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offense prescribed by the election laws of this state”—“is unconstitutional” and the Attorney General

“cannot initiate prosecution [of election cases] unilaterally.” State v. Stephens, No. PD-1032-20, 2021

WL 5917198, at *1, 8 (Tex. Crim. App. Dec. 15, 2021). Accordingly, “the authority of the Attorney

General is limited to assisting the district or county attorney upon request.” Id. at *9. 2 This Court must

“take the word of the highest court on criminal matters of Texas as to the interpretation of its law.”

Arnold v. Cockrell, 306 F.3d 277, 279 (5th Cir. 2002) (per curiam). “Speculation that [the Attorney

General] might be asked by a local prosecutor to ‘assist’ in enforcing” SB1 “is inadequate to support

an Ex parte Young action against the Attorney General.” In re Abbott, 956 F.3d at 709 (citing City of

Austin, 943 F.3d at 1000). Accordingly, these and other allegations relating to the Attorney General’s

authority to prosecute violations of Texas’s elections law are also insufficient to establish the Attorney

General as a proper defendant.

II. Plaintiffs Cannot Sue the State of Texas

        The LUPE Plaintiffs assert Counts IV, V, and VI against the State of Texas. See ECF 140

¶¶ 257, 268, 274. Each of these counts is barred by sovereign immunity. “Generally, States are immune

from suit under the terms of the Eleventh Amendment and the doctrine of sovereign immunity.”

Whole Woman’s Health v. Jackson, 142 S. Ct. 522, 532 (2021) (citing Alden v. Maine, 527 U.S. 706, 713

(1999)). “Unless waived by the state, abrogated by Congress, or an exception applies, the immunity

precludes suit.” Tex. Democratic Party, 978 F.3d at 179 (citing City of Austin, 943 F.3d at 997).

        Counts IV and V raise claims under the Voting Rights Act. Although OCA-Greater Houston

held that the Voting Rights Act abrogates sovereign immunity, that case was wrongly decided. See

OCA-Greater Houston v. Texas, 867 F.3d 604, 614 (5th Cir. 2017). “Congress did not unequivocally

abrogate state sovereign immunity under Section 2 of the Voting Rights Act.” Ala. State Conference of



2The State of Texas and the Attorney General believe that Stephens was wrongly decided. The State has filed a
motion asking the Texas Court of Criminal Appeals to reconsider its decision.

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the NAACP v. Alabama, 949 F.3d 647, 655 (11th Cir. 2020) (Branch, J., dissenting). Nor did it do so

in Section 208. When the VRA authorizes relief against States, it does so through suits brought by the

Attorney General, see, e.g., 52 U.S.C. § 10308(d), which the Supreme Court has held are not subject to

sovereign immunity. See West Virginia v. United States, 479 U.S. 305, 312 n.4 (1987); United States v.

Mississippi, 380 U.S. 128, 140 (1965). Although this Court is bound by OCA-Greater Houston, the State

Defendants preserve this argument for appeal.

        With respect to the LUPE Plaintiffs’ ADA claim in Count VI, the Supreme Court “established

a three-part test for determining whether Title II validly abrogates states’ sovereign immunity.” Block

v. Tex. Bd. of Law Examiners, 952 F.3d 613, 617 (5th Cir. 2020). A court must determine, on a “claim-

by-claim basis”:

        (1) which aspects of the State’s alleged conduct violated Title II; (2) to what extent
        such misconduct also violated the Fourteenth Amendment; and (3) insofar as such
        misconduct violated Title II but did not violate the Fourteenth Amendment, whether
        Congress’s purported abrogation of sovereign immunity as to that class of conduct is
        nevertheless valid.

Id. (quoting United States v. Georgia, 546 U.S. 151, 159 (2006)). Under Georgia, if the plaintiff alleges no

conduct that violates Title II, sovereign immunity applies. Id. at 617–19. As explained below, the

LUPE Plaintiffs have not alleged conduct violating Title II, see infra Part IV.A, so Texas is entitled to

sovereign immunity on Count VI.

III. Plaintiffs Lack Standing

            A. Plaintiffs Bear the Burden of Establishing Standing on a Claim-by-Claim Basis

        “[S]tanding is perhaps the most important of the jurisdictional doctrines.” FW/PBS, Inc. v. City

of Dallas, 493 U.S. 215, 231 (1990) (quotation omitted). At the pleading stage, Plaintiffs must

“clearly . . . allege facts demonstrating each element” of standing. Spokeo, Inc. v. Robbins, 578 U.S. 330,

339 (2016) (quotation omitted). A plaintiff must show: (1) an actual or imminent, concrete and

particularized “injury-in-fact”; (2) that is fairly traceable to the challenged action of the defendant; and


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(3) that is likely to be redressed by a favorable decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 561

(1992).

          Artificial entities have two options for trying to establish standing: (1) associational standing

and (2) organizational standing. See NAACP v. City of Kyle, 626 F.3d 233, 237–38 (5th Cir. 2010). For

associational standing, the entity must show that (1) its members would independently have standing;

(2) the interests the organization is protecting are germane to the purpose of the organization; and

(3) neither the claim asserted nor the relief requested requires participation of individual members.

Ctr. for Biological Diversity v. EPA, 937 F.3d 533, 536 (5th Cir. 2019). For organizational standing, the

plaintiff must establish, in its own right, an injury in fact, causation, and redressability. Id.

          Because the LUPE Plaintiffs are “invoking federal jurisdiction,” they “bear[] the burden of

establishing these elements.” Lujan, 504 U.S. at 561. Additionally, because “[s]tanding is not dispensed

in gross,” Plaintiffs must plausibly allege “standing to challenge each provision of law at issue.” In re Gee,

941 F.3d 153, 161–62 (5th Cir. 2019) (per curiam) (emphasis added). But rather than proceed

“provision-by-provision” and “claim-by-claim,” id. at 165, 170, the LUPE Plaintiffs’ standing

allegations often treat SB1 as an undifferentiated whole. That does not suffice.

              B. Plaintiffs Have Not Plausibly Alleged Traceability or Redressability

          As an initial matter, the LUPE Plaintiffs lack standing because their alleged harms are neither

traceable to State Defendants nor redressable by this Court. By and large, the LUPE Plaintiffs

challenge SB1 as an undifferentiated whole, without tying their alleged injuries to particular

enforcement actions by any of the State Defendants. The LUPE Plaintiffs name the State of Texas as

a defendant for Counts IV, V, and VI, but they fail to allege enforcement of the provisions challenged

in those counts by a state official such that the alleged harm is traceable to the State and redressable

by a favorable decision. To the extent the LUPE Plaintiffs attempt to allege enforcement by state

officials, they reference the Secretary and Attorney General. But, as explained in Part I, the Secretary


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and Attorney General do not have broad power to enforce all of SB1. The Ex parte Young analysis

above “significantly overlap[s]” with the traceability and redressability analysis. City of Austin, 943 F.3d

at 1002. However, traceability and redressability are still required even when sovereign immunity is

inapplicable. See U.S. Const. art. III, § 2. Thus, even if the State Defendants are not immune from suit,

the Court should dismiss the LUPE Plaintiffs’ claims for lack of standing because of Plaintiffs’ failure

to adequately plead enforcement of the challenged SB1 provisions by the State Defendants.

        To be sure, OCA-Greater Houston wrongly found standing satisfied in an earlier suit against the

Secretary of State because the Secretary “serves as the ‘chief election officer of the state.”’ 867 F.3d at

613. But OCA “involved a facial challenge under the Voting Rights Act,” not “an as-applied challenge

to a law enforced by local officials.” Tex. Democratic Party v. Hughs, 974 F.3d 570, 571 (5th Cir. 2020)

(per curiam) (distinguishing OCA). Its reasoning is limited, at least, to cases considering “[t]he facial

validity of a Texas election statute.” OCA, 867 F.3d at 613.

        In any event, OCA is inconsistent with Texas authorities, which control on the underlying

question of Texas law: Does being the “chief election officer” empower the Secretary to enforce

Section 6.04? No, because the “Secretary’s title chief election officer is not a delegation of authority

to care for any breakdown in the election process.” In re Hotze, 627 S.W.3d 642, 649 (Tex. 2020)

(Blacklock, J., concurring) (describing Bullock v. Calvert, 480 S.W.2d 367 (Tex. 1972)) (quotation marks

omitted). OCA did not consider these precedents, or any other opinions from Texas courts. Justice

Blacklock’s In re Hotze concurrence post-dated OCA, so the OCA court did not have a chance to

consider that opinion. And the OCA court appears to have been unaware of Calvert, which was not

cited in the parties’ briefs. Because OCA did not “squarely address[]” Texas cases interpreting the

Secretary’s role as chief election officer, it is not binding “by way of stare decisis.” Brecht v. Abrahamson,

507 U.S. 619, 631 (1993); see Wilson v. Taylor, 658 F.2d 1021, 1034–35 (5th Cir. 1981) (refusing to follow

a Fifth Circuit opinion that conflicted with a previous Supreme Court opinion that “was not called to


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the attention of the [first Fifth Circuit] panel”).

              C. No Plaintiff Has Associational Standing

           The amended complaint does not plausibly allege facts establishing associational standing. A

plaintiff cannot have associational standing unless one of its members independently satisfies the

Article III standing requirements. Ctr. for Biological Diversity, 937 F.3d at 536. The plaintiff must

therefore make two threshold showings: (1) that it has “members” within the meaning of the

associational standing test from Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 344 (1977)

(requiring “indicia of membership”), and (2) that identified members have “suffered the requisite

harm,” Summers v. Earth Island Inst., 555 U.S. 488, 499 (2009). The LUPE Plaintiffs here have done

neither.

           First, the LUPE Plaintiffs have not alleged facts establishing that they have “members” under

the Hunt test. Plaintiffs ADL, SVREP, and WCVI do not assert associational standing. ECF 140

¶¶ 12–13, 18 (asserting only organizational standing). The remaining entity Plaintiffs assert that they

have members, at least in the colloquial sense, but they fail to allege that their purported members

“possess all of the indicia of membership”: that “[t]hey alone elect the members of the [governing

board]; they alone may serve on the [governing board]; they alone finance its activities, including the

costs of this lawsuit, through assessments levied upon them.” Hunt, 432 U.S. at 344–45. Generally,

members must “participate in and guide the organization’s efforts.” Ass’n for Retarded Citizens of Dall.

v. Dall. Cnty. Mental Health & Retardation Ctr. Bd. of Trs., 19 F.3d 241, 244 (5th Cir. 1994). More

specifically, the members must “elect leadership, serve as the organization’s leadership, and finance

the organization’s activities, including the case’s litigation costs.” Texas Indigenous Council v. Simpkins,

No. 5:11-cv-315, 2014 WL 252024, at *3 (W.D. Tex. Jan. 22, 2014) (Rodriguez, J.). The LUPE

Plaintiffs allege no such facts. See ECF 140 ¶¶ 9–11, 14–17, 19, 146–166, 178–205, 207–14.

           Second, even assuming the entity Plaintiffs have members, they have failed to “identify


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members who have suffered the requisite harm” to establish injuries in fact. Summers, 555 U.S. at 499.

As this Court recognized at the status conference, the LUPE Plaintiffs’ original complaint did not

“identify[] specific members of those associations who would themselves have standing to sue.” Ex.

A at 18. The Court advised the plaintiffs “to flush that out because I don’t see where many of you

have articulated those individuals sufficient to withstand any challenge.” Id. But the LUPE Plaintiffs

did not follow that advice. The only individual identified in the amended complaint, James Lewin, is

not alleged to be a member of the entity Plaintiffs. ECF 140 ¶¶ 20, 215.

        This defect, on its own, is sufficient to support dismissal. See, e.g., Draper v. Healey, 827 F.3d 1,

3 (1st Cir. 2017) (Souter, J.) (dismissing claim for lack of standing where entity plaintiff failed to

identify a member who was affected by the challenged regulation); Disability Rights Wis., Inc. v. Walworth

Cnty. Bd. of Supervisors, 522 F.3d 796, 804 (7th Cir. 2008) (dismissing claim for lack of standing where

entity plaintiff failed to identify a member who was affected by the disability policy). 3

        Finally, even if Plaintiffs otherwise had associational standing (they do not), they would not

be able to rely on associational standing for their disability-based claims: Count V under § 208 of the

VRA and Count VI under the ADA. The third element of associational standing demands that

“neither the claim asserted nor the relief requested requires participation of individual members.” Ctr.

for Biological Diversity, 937 F.3d at 536. “To determine whether” a “claim require[s] individual

participation,” courts “examine[] the claim’s substance.” Cornerstone Christian Sch. v. UIL, 563 F.3d 127,

134 (5th Cir. 2009). If the claim has an “individualized element,” then “[t]he involvement of”

individual members “is essential to the resolution of the” claim. Id.

        Here, the LUPE Plaintiffs’ disability claims require the participation of individual members,




3 Although an unpublished opinion of the Fifth Circuit once noted that the panel was “aware of no precedent
holding that an association must set forth the name of a particular member in its complaint,” Hancock Cnty. Bd.
of Supervisors v. Ruhr, 487 F. App’x 189, 198 (5th Cir. 2012), the precedent cited above holds exactly that.


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both because they have individualized elements and because of the relief requested. For example, “to

prevail on a claim of disability discrimination under the ADA, a party must prove that he has a

disability,” Neely v. PSEG Tex., LP, 735 F.3d 242, 245 (5th Cir. 2013) (citations omitted), and that the

disability “substantially limits an individual in a major life activity,” Garrett v. Thaler, 560 F. App’x 375,

383 (5th Cir. 2014) (per curiam); see also Ray v. Texas, No. 2-06-CV-385, 2008 WL 3457021, at *1–3,

*6–7 (E.D. Tex. Aug. 7, 2008) (as to § 208, considering the specific effect of Texas early voting law

on group of elderly plaintiffs). This requires “a case-by-case analysis” of specific facts and

circumstances, with respect to each particular plaintiff. Duncan v. Univ. of Tex. Health Sci. Ctr. at Hous.,

469 F. App’x 364, 369 (5th Cir. 2012) (per curiam). The LUPE Plaintiffs’ “complaint alleges no facts

suggesting” that disabled voters will face “uniform” issues across Texas’s 254 counties and despite

variation in individual disabilities. Prison Justice League v. Bailey, 697 F. App’x 362, 363 (5th Cir. 2017)

(per curiam). In the absence of such uniformity, individual participation is crucial for understanding

the merits of disability claims.

             D. None of the Entity Plaintiffs Plausibly Allege a Cognizable Injury

         The entity Plaintiffs have not plausibly alleged that they, as organizations, will suffer injuries

in fact. They therefore lack organizational standing.

         ADL: Plaintiff ADL claims standing on two grounds, but neither suffices. First, ADL alleges

that it “is concerned that” its future activities “would place” it “at risk of prosecution.” ECF 140 ¶ 168.

But “subjective fear . . . does not give rise to standing.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 418

(2013). ADL does not even assert that it is likely to be prosecuted, much less plausibly allege that the

risk of prosecution is more than “speculative.” Zimmerman v. City of Austin, 881 F.3d 378, 390 (5th Cir.

2018).

         Second, ADL claims it “will be required to divert and expend resources on designing its voter

education to properly inform Texas voters about SB1[].” ECF 140 ¶ 169. As an initial matter, an


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organization’s “self-serving observation that it has expended resources to educate its members and

others regarding [the challenged law] does not present an injury in fact.” Nat’l Taxpayers Union, Inc. v.

United States, 68 F.3d 1428, 1434 (D.C. Cir. 1995). If standing were so broad, law professors would

always have standing to challenge any new law.

        In any event, although the diversion of resources can constitute a requisite injury under certain

circumstances, “[n]ot every diversion of resources to counteract [a] defendant’s conduct . . . establishes

an injury in fact.” City of Kyle, 626 F.3d at 238. “The change in plans must still be in response to a

reasonably certain injury imposed by the challenged law.” Zimmerman, 881 F.3d at 390. A diversion of

resources is thus cognizable only if the plaintiff “would have suffered some other injury if it had not

diverted resources to counteracting the problem.” La Asociacion de Trabajadores de Lake Forest v. City of

Lake Forest, 624 F.3d 1083, 1088 (9th Cir. 2010). Here, ADL does not allege an underlying injury that

its alleged diversion was needed to counteract. Nor does it “identify ‘specific projects that [it] had to

put on hold or otherwise curtail in order to respond to’ the defendant’s conduct.” Def. Distributed v.

U.S. Dep’t of State, No. 1:15-cv-372-RP, 2018 WL 3614221, at *4 (W.D. Tex. July 27, 2018) (quoting

City of Kyle, 626 F.3d at 238).

        WCVI: Plaintiff WCVI argues that it “will be forced to divert resources” for the purposes of

“explaining,” “analyzing,” and “informing Texas Latino voters about SB1[].” ECF 140 ¶ 206. Again,

diverting resources to educate individuals about a challenged law “does not present an injury in fact.”

Nat’l Taxpayers Union, Inc., 68 F.3d at 1434. Moreover, where, as here, WCVI has not alleged that it

“would have suffered some other injury if it had not diverted resources,” the mere allegation of

diversion or resources is insufficient to confer standing. Zimmerman, 881 F.3d at 390.

        MABA-TX: Plaintiff MABA-TX alleges that SB1 will have “negative effects” on third parties

and “communities,” supposedly requiring MABA-TX “to divert resources to prepare new educational

materials” as well as “educate” third parties “about SB1[].” ECF 140 ¶¶ 190, 192. That does not confer


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standing for the reasons explained above. A plaintiff’s opposition to a law’s effects is not a cognizable

injury, see Ass’n of Community Orgs. for Reform Now v. Fowler, 178 F.3d 350, 362 n.7 (5th Cir. 1999); Nat’l

Treasury Emps. Union v. United States, 101 F.3d 1423, 1429 (D.C. Cir. 1996), nor is the expense of

educating others about SB1, see Nat’l Taxpayers Union, Inc., 68 F.3d at 1434. Moreover, MABA-TX has

not alleged “any specific projects” it will have “to put on hold” due to its alleged diversion of resources.

La. ACORN Fair Hous. v. LeBlanc, 211 F.3d 298, 305 (5th Cir. 2000). Finally, MABA-TX’s concern

that SB1 could affect who wins elections, see ECF 140 ¶ 193, does not suffice because “[a]n

organization’s general interest in its preferred candidates winning as many elections as possible is . . .

a ‘generalized partisan preference[]’ that federal courts are ‘not responsible for vindicating.’” Jacobson

v. Fla. Sec’y of State, 974 F.3d 1236, 1263 (11th Cir. 2020) (quoting Gill v. Whitford, 138 S. Ct. 1916, 1933

(2018)).

           Texas HOPE: Plaintiff Texas HOPE offers three proposed injuries, but none succeeds. First,

Texas HOPE argues that it “will be forced to divert resources to educate its membership about SB1[],”

ECF 140 ¶ 197, but again, educating members is not a cognizable injury in fact. See Nat’l Taxpayers

Union, Inc., 68 F.3d at 1434. Second, Texas HOPE contends that SB1 will “depress Latino turnout,”

ECF 140 ¶ 198, but an “abstract social interest in maximizing voter turnout . . . . cannot confer Article

III standing.” Fair Elections Ohio v. Husted, 770 F.3d 456, 461 (6th Cir. 2014); see Gill, 138 S. Ct. at 1933.

Third, “Texas HOPE believes it will have difficulty recruiting election workers because” potential

volunteers suffer from “confusion” and “fear” about SB1. ECF 140 ¶ 199 (emphasis added). A

plaintiff’s speculative belief about the reactions of third parties to a challenged law cannot support

standing, both because it is based on “conjecture” and because it is “based on third parties’ subjective

fear.” Clapper, 568 U.S. at 417 n.7.

           LUPE: Plaintiff LUPE alleges four theories of standing, but each fails. First, LUPE alleges

that “SB1 will injure LUPE by exposing the organization’s paid staff and members to investigation


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and prosecution.” ECF 140 ¶ 152. However, LUPE does not assert that it is likely to be investigated

or prosecuted, much less plausibly allege that the risk of investigation or prosecution is more than

“speculative.” Zimmerman, 881 F.3d at 390. Second, it claims “SB1 will frustrate [its] mission” by

“reducing voter turnout.” ECF 140 ¶ 160. That is not an injury in fact. See Fair Elections Ohio, 770 F.3d

at 461. Third, LUPE alleges that it will “divert its resources . . . to counteract the negative effects” on

voter turnout. ECF 140 ¶ 158. Because the alleged underlying effect on voter turnout is not a

cognizable injury, neither is a diversion of resources meant to prevent that non-injury. See Zimmerman,

881 F.3d at 390; La Asociacion de Trabajadores de Lake Forest, 624 F.3d at 1088. Fourth, LUPE alleges it

“will be required to divert resources . . . to comply with SB1’s” rules regarding “assisting voters,” ECF

140 ¶ 161, but LUPE does not allege any “imminent” and “certainly impending” plans to provide such

assistance to would-be voters. Clapper, 568 U.S. at 409. Even if that were an injury in fact, it would not

give LUPE standing to challenge any of the other provisions at issue.

        Friendship-West: Plaintiff Friendship-West lacks standing for many of the reasons discussed

above. First, Friendship-West alleges that “SB1 will frustrate [its] mission,” ECF 140 ¶ 162, but

“[f]rustration of an organization’s objectives is the type of abstract concern that does not impart

standing.” Nat’l Treasury Emps. Union, 101 F.3d at 1429. Second, it alleges that SB1 “will frustrate its

ability to operate as a polling place.” ECF 140 ¶ 162. However, Friendship-West fails to allege how.

This purely hypothetical alleged injury cannot support standing. See Democracy N.C. v. N.C. State Bd. of

Elections, 476 F. Supp. 3d 158, 187 (M.D.N.C. 2020) (citing Clapper, 568 U.S. at 402). Third, Friendship-

West alleges that it “will . . . be required to divert and expend resources . . . to ensure that its

congregants and community members comply with SB1’s new, often confusing, and vague

restrictions,” ECF 140 ¶ 166, but educating others about the law is not an injury in fact. Nat’l Taxpayers

Union, 68 F.3d at 1434. Fourth, Friendship-West alleges that it “believes” that third parties will react

to SB1 in ways it does not like, ECF 140 ¶ 165, but again, supposed injuries based on “conjecture”


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and “third parties’ subjective fear” are doubly insufficient. Clapper, 568 U.S. at 417 n.7.

          SVREP: Plaintiff SVREP alleges that SB1 will have “negative effects” on voter turnout and

that it must “divert its resources . . . to counteract” those “negative effects.” ECF 140 ¶ 171; see id.

¶ 176. That does not establish standing because SVREP’s “abstract social interest in maximizing voter

turnout . . . . cannot confer Article III standing.” Fair Elections Ohio, 770 F.3d at 461. Like LUPE,

SVREP also alleges it “will be required to divert resources . . . to comply with SB1’s” rules regarding

“assisting voters,” ECF 1 ¶ 173, but SVREP does not allege any “imminent” and “certainly impending”

plans to provide such assistance to would-be voters. Clapper, 568 U.S. at 409. But even if SVREP were

injured, its standing would be limited to challenging provisions that increase the costs of assisting

voters.

          Texas Impact: Plaintiff Texas Impact allegedly foresees “difficulty recruiting election workers”

due to “confusion about SB1’s new rules for partisan poll watchers and fear among volunteers of

criminal prosecution for conduct that could ‘obstruct the view of a watcher.’” ECF 140 ¶ 179. But

again, standing cannot be “based on third parties’ subjective fear.” Clapper, 568 U.S. at 417 n.7. Next,

Texas Impact claims it “has already” diverted, and “anticipates being required to continue” diverting,

its time and resources “toward ensuring that its members comply with SB1[],” ECF 140 ¶ 182, but

Texas Impact does not allege what “reasonably certain injury imposed by” SB1 this alleged diversion

is a “response to.” Zimmerman, 881 F.3d at 390; see La Asociacion de Trabajadores de Lake Forest, 624 F.3d

at 1088. Nor does Texas Impact allege which provisions of SB1 allegedly impose these compliance

costs.

          Jolt Action: Plaintiff Jolt Action alleges that “SB1 will frustrate [its] mission” and that it wants

“to counteract the negative effects of SB1,” ECF 140 ¶¶ 200, 204, but even a “direct conflict” between

an “organization’s mission” and a challenged law does not suffice “to confer standing on the

organization.” Fowler, 178 F.3d at 362 n.7. Like LUPE and SVREP, Jolt Action, alleges it “will be


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required to divert resources . . . to comply with SB1’s” rules regarding “assisting voters,” ECF 140

¶ 205, but Jolt Action does not allege any “imminent” and “certainly impending” plans to provide such

assistance to would-be voters. Clapper, 568 U.S. at 409. But even if Jolt Action were injured, its standing

would be limited to challenging provisions that increase the costs of assisting voters.

        Fiel: Plaintiff Fiel alleges the same injuries as Jolt Action, see ECF 140 ¶¶ 207, 209, 211, and

they fail for the same reasons.

        OCA-Greater Houston, about which the Court asked at the status conference, is not to the

contrary. In that case, the Fifth Circuit considered whether a plaintiff’s alleged diversion of resources

was an injury in fact. The court analyzed a “critical distinction”: whether the expenses “were related

to litigation” or “unrelated to litigation.” OCA-Greater Hous., 867 F.3d at 612. That is an important

limitation on organizational standing, but it is not at issue in this case.

        In this case, one key question is whether the LUPE Plaintiffs’ alleged diversions of resources

are self-inflicted injuries or necessary responses to cognizable injuries they otherwise would have

suffered. OCA-Greater Houston did not analyze that question, seemingly because the parties did not

brief it. The court there simply did not consider whether the plaintiff’s “change in plans” was “in

response to a reasonably certain injury imposed by the challenged law,” as other precedent requires

the Court to address here. Zimmerman, 881 F.3d at 390.

            E. The Entity Plaintiffs Violate the Bar on Third-Party Standing

        Finally, the entity Plaintiffs lack standing for another reason: the bar on third-party standing.

Section 1983 provides a cause of action only when the plaintiff suffers “the deprivation of any rights”

at issue. 42 U.S.C. § 1983. The same is true for Plaintiffs’ other causes of action. A “third party may

not assert a civil rights claim based on the civil rights violations of another individual.” Barker v.

Halliburton Co., 645 F.3d 297, 300 (5th Cir. 2011) (citing Coon v. Ledbetter, 780 F.2d 1158, 1160–61 (5th

Cir. 1986)). Thus, where the “alleged rights at issue” belong to a third party, the plaintiff lacks statutory


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standing, regardless of whether the plaintiff has suffered his own injury. Danos v. Jones, 652 F.3d 577,

582 (5th Cir. 2011); see also Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 127–28

nn.3–4 (2014). Here, the entity Plaintiffs rely on the rights of third parties because they do not possess

the relevant rights (e.g., the right to vote, the right not to be discriminated against based on a disability).

The LUPE Plaintiffs have not alleged any exception to the general prohibition on third-party standing.

            F. Plaintiff Lewin is Not Injured

        Plaintiff Lewin has not alleged a cognizable injury. He claims that he “may hesitate to

volunteer” because of certain SB1 provisions regarding poll watchers. ECF 140 ¶ 215 (emphasis

added). That is not an “actual or imminent” injury. Pub. Citizen, Inc. v. Bomer, 274 F.3d 212, 217 (5th

Cir. 2001) (citing Lujan, 504 U.S. at 560). Subjective chill is not sufficient to establish an injury in fact,

see Clapper, 568 U.S. at 401 (distinguishing between a certainly impending injury and one built on

subjective fear), but a plaintiff who is himself unsure whether he will be chilled certainly has not

established an injury in fact. He has “failed to sufficiently plead the actual chilling of [his] First

Amendment rights so as to constitute an injury for standing purposes.” Guan v. Mayorkas, No. 1:19-

cv-6570, 2021 WL 1210295, at *13 (E.D.N.Y. Mar. 30, 2021); see Ass’n of Am. Physicians & Surgeons,

Inc. v. HHS, 224 F. Supp. 2d 1115, 1125 (S.D. Tex. 2002), aff’d, 67 F. App’x 253 (5th Cir. 2003) (per

curiam) (dismissing for lack of standing due no “actual chill”).

IV. Plaintiffs’ Claims Fail as a Matter of Law

        If the Court concludes it has jurisdiction, it should streamline this case by dismissing claims

that fail as a matter of law.

            A. Plaintiffs Failed to State a Claim under the ADA

        The Court should dismiss Count VI because the LUPE Plaintiffs have not stated an ADA

claim. The ADA requires a plaintiff to plausibly allege: “(1) that he has a qualifying disability; (2) that

he is being denied the benefits of services, programs, or activities for which the public entity is


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responsible, or is otherwise discriminated against by the public entity; and (3) that such discrimination

is by reason of his disability.” Hale v. Harrison Cnty. Bd. of Supervisors, 8 F.4th 399, 404 n.† (5th Cir. 2021)

(per curiam) (quoting Hale v. King, 642 F.3d 492, 499 (5th Cir. 2011) (per curiam)). The LUPE Plaintiffs

have not plausibly alleged that they are disabled, that State Defendants provide the relevant service,

that SB1 will prevent them from receiving assistance, or that reasonable accommodations are

unavailable.

                 1.      Plaintiffs Do Not Allege a Qualifying Disability

        As an initial matter, the LUPE Plaintiffs do not have qualifying disabilities. Most of the

plaintiffs in this case are artificial entities that could not be disabled. ECF 140 ¶¶ 9–19. Plaintiff Lewin

does not allege that he is disabled. Id. ¶ 20.

        Three of the entity Plaintiffs—LUPE, Texas Impact, and Fiel—claim to have disabled

members, see ECF 140 ¶¶ 10, 146–48, 180, 212, 280, but that does not help them here. The LUPE

Plaintiffs attempt to litigate the ADA rights of third parties despite “[t]he prohibition on third-party

standing.” Sims v. Tex. Dep’t of Hous. & Cmty. Affs., No. 4:05-cv-2842, 2005 WL 3132184, at *4 (S.D.

Tex. Nov. 21, 2005) (Rosenthal, J.) (dismissing ADA and Rehabilitation Act claims); see also Baaske v.

City of Rolling Meadows, 191 F. Supp. 2d 1009, 1016–17 (N.D. Ill. 2002) (dismissing an ADA claim for

lack of third-party standing). Claims to third-party standing are even weaker where, as here, the

plaintiffs’ allegations do not tie the claim to “any identifiable individual” with a disability. Sims, 2005

WL 3132184, at *5.

        Even if LUPE, Texas Impact, and Fiel could litigate the ADA rights of identified members,

they have not plausibly alleged facts establishing a qualifying disability for those members. As the

Court noted at the status conference, “these entity plaintiffs haven’t specifically alleged what

disabilities the members have, or how the disability limits any major life activity.” Ex. A at 12. But the

LUPE Plaintiffs did not heed the Court’s advice to “file an amended complaint to cure these


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deficiencies.” Id.

        Their amended complaint is based on the same conclusory assertions included in their original

complaint. Asserting that their members include disabled voters does not suffice. See ECF 140 ¶¶ 10,

146–47, 180, 212. Asserting that these disabled voters “have disabilities that limit major life activities”

is also insufficient. See id. ¶¶ 10, 148, 280. Even at the pleading stage, “a formulaic recitation of the

elements of the cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).

Pleading a qualifying disability requires alleging “facts sufficient to allow [the Court] to reasonably

infer that” the individuals have: “(A) a physical or mental impairment that substantially limits one or

more of the major life activities of such individual; (B) a record of such an impairment; or (C) being

regarded as having such an impairment.” Hale, 642 F.3d at 499–500. Because no Plaintiff has “alleged

any facts displaying what her disability is or how her disability substantially limits one of her major life

activities,” the Court should dismiss Count VI. Houston v. DTN Operating Co., No. 4:17-cv-35, 2017

WL 4653246, at *6 (E.D. Tex. Oct. 17, 2017); see also Payne v. Midcrown Pavilion Apartments, No. SA-19-

cv-407-FB, 2021 WL 3813378, at * 12 (W.D. Tex. Aug. 26, 2021) (recommending dismissal because

the complaint alleged “no medical facts” showing “that Mr. Payne is disabled under . . . the ADA”).

        Even if the Court finds LUPE’s, Texas Impact’s, and Fiel’s allegations sufficient (it should

not), State Defendants respectfully request that the Court at least dismiss Count VI as to the eight

Plaintiffs who do not claim to be disabled or have disabled members: Friendship-West, ADL, SVREP,

MABA-TX, Texas HOPE, Jolt Action, WCVI, and Lewin.

                 2.     Defendants Do Not Administer Elections

        The LUPE Plaintiffs’ ADA claim also fails for an independent reason: They have not plausibly

alleged a “service[], program[], or activit[y] for which the public entity is responsible.” Hale, 642 F.3d

at 499. Plaintiffs allege that “[v]oting” is the relevant “activity.” ECF 140 ¶ 278. Plaintiffs make the

conclusory allegation that “[t]he State of Texas is a public entity . . ., and the individual Defendants


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are the public officials responsible for running these public entities,” but they fail to allege facts to

support this assertion as to the State Defendants. Id. ¶ 279.

        The Fifth Circuit’s opinion in Ivy v. Williams illuminates the “provided by” standard. 781 F.3d

250 (5th Cir. 2015), vacated as moot sub nom. Ivy v. Morath, 137 S. Ct. 414 (2016). There, the Fifth Circuit

held that plaintiffs could not state a claim against the Texas Education Agency regarding “driver

education” because TEA did “not provide the program, service, or activity of driver education.” Id. at

258. TEA did not teach driver education. Id. at 255. That TEA “provides the licensure and regulation

of driving education schools” did not mean it also provides “driver education itself.” Id. “[H]eavy

regulation” and the provision of “sample course materials and blank certificates” to schools were not

enough to say that TEA itself provided the educational service provided by the schools.

        The same logic applies here. In general, local election officials administer Texas elections. They

receive and review ballot applications, Tex. Elec. Code § 86.001, mail carrier and ballot envelopes to

voters, id. § 86.002, receive and process marked ballots, id. §§ 86.006, 86.007(b), 86.011, verify voter

signatures, id. §§ 87.027(i), 87.041(b)(2), and count the results, id. § 87.061. State Defendants do not

share those responsibilities.

        In substance, the LUPE Plaintiffs would impose supervisory liability on the State Defendants.

But the Fifth Circuit rejected that tactic in Lightbourn v. County of El Paso, 118 F.3d 421 (5th Cir. 1997).

There, blind and mobility-impaired plaintiffs sued the Secretary of State because the voting equipment

at their polling places did not allow them to vote with complete secrecy. Id. at 423–24. The district

court had held that the Secretary had a positive obligation to ensure that local election authorities

complied with the ADA—one that the Secretary had violated, it concluded, by failing to encourage

the development and adoption of new voting systems. Reversing the district court, the Fifth Circuit

held that the Secretary was not responsible for local officials’ non-compliance with the ADA. See id.

at 432 (holding that the Secretary has “no duty under either Texas law or the ADA to take steps to


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ensure that local officials comply with the ADA”).

        In reaching that decision, the Fifth Circuit analyzed the Secretary’s legal obligations. First,

many provisions in the Election Code “give discretion to the Secretary to take some action,” but

“[p]rovisions merely authorizing the Secretary to take some action do not confer a legal duty on [her]

to take the contemplated action.” Id. at 429. Second, although “[t]he Texas Election Code does contain

some provisions requiring the Secretary to take action with respect to elections,” they do not make

the Secretary responsible for local compliance with the ADA. Id. For similar reasons, the Attorney

General and the State of Texas generally are not responsible for local election officials’ compliance

with the ADA.

                3.      Texas Law Does Not Discriminate Against Disabled Voters

        The ADA does not apply unless the relevant exclusion, denial, or discrimination is “by reason

of [the plaintiff’s] disability.” 42 U.S.C. § 12132. Here, the LUPE Plaintiffs have not identified any

provision of SB1 that discriminates against voters with disabilities. Plaintiffs are not “excluded from

participation in, or being denied benefits of,” or “otherwise being discriminated against” in voting.

Smith v. Harris Cnty., 956 F.3d 311, 317 (5th Cir. 2020).

        In fact, state law expressly prohibits election officials from interpreting any provision of the

Texas Election Code “to prohibit or limit the right of a qualified individual with a disability from

requesting a reasonable accommodation or modification to any election standard, practice, or

procedure mandated by law or rule that the individual is entitled to request under federal or state law.”

Tex. Elec. Code § 1.022.

        Texans with disabilities have multiple options to vote: (1) voting in a polling place during early

voting, (2) curbside voting during early voting, (3) voting in a polling place on Election Day,

(4) curbside voting on Election Day, and (5) voting by mail. See Tex. Elec. Code §§ 41.001, 64.009,

81.001, 82.002(a). These are the same options offered to other voters, except that voters without


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disabilities may not be eligible for curbside voting or voting by mail. See id. §§ 64.009, 82.002(a).

        Texas’s “program of voting comprises its entire voting program, encompassing all of its

polling locations throughout the [relevant jurisdiction], as well as its alternative and absentee ballot

programs.” Kerrigan v. Phila. Bd. of Election, No. 2:07-cv-687, 2008 WL 3562521, at *13 (E.D. Pa. Aug.

14, 2008); see also 28 C.F.R. § 35.150 (explaining that “service, program, or activity, when viewed in its

entirety” must be accessible but that a public entity does not necessarily need to “make each of its

existing facilities accessible”) (emphases added).

        The LUPE Plaintiffs suggest that SB1 will “mak[e] it harder for [disabled voters] to get

necessary assistance,” ECF 140 ¶ 281, but they do not allege getting appropriate assistance will be

impossible. Nor do they allege that any particular voter will be unable to vote.

        “[T]here are no allegations that permit the inference that [any] decision” under SB1 “was made

because of [a Plaintiff’s] disability status.” T.O. v. Fort Bend Indep. Sch. Dist., 2 F.4th 407, 417–18 (5th

Cir. 2021). “[A] conclusory allegation that” Defendants “discriminated against [Plaintiffs] based on [a]

disability” does not satisfy “the Rule 8 pleading standard.” Olivarez v. T-Mobile USA, Inc., 997 F.3d 595,

600–01 (5th Cir. 2021).

                4.        Texas Already Provides Reasonable Accommodations

        To the extent the LUPE Plaintiffs raise a failure-to-accommodate theory, it fails because

Plaintiffs have not plausibly alleged that Texas has “failed to make reasonable accommodations” in

voting. Smith, 956 F.3d at 317. Texas law provides numerous accommodations for disabled voters.

Texas law guarantees that they can request a reasonable accommodation or modification to any

election standard, practice, or procedure mandated by law or rule that they are entitled to request

under federal or state law. Tex. Elec. Code § 1.022.

        Moreover, Texas law also ensures accommodations will be made for in-person voting. At least

one voting station at each polling location must have an accessible voting system that allows voters to


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cast a ballot both independently and secretly. Id. § 61.012. Polling locations must meet strict standards,

including curb cuts or temporary nonslip ramps, ground floor access, wide doorframes, handrails, and

the removal of any barrier that impedes a voter’s pathway to the voting station. Id. § 43.034. To the

extent voters cannot enter a polling location, local election officials must offer alternatives, such as

curbside voting, which allows voters to vote without ever leaving their cars. Id. § 64.009.

        The LUPE Plaintiffs do not allege any problems with these accommodations, but even if they

do not match Plaintiffs’ preferences perfectly, they still offer disabled voters meaningful opportunities

to vote. That is enough under federal law. See Alexander v. Choate, 469 U.S. 287, 301 (1985) (holding

that a reasonable accommodation must give qualified individuals “meaningful access”); Cadena v. El

Paso Cnty., 946 F.3d 717, 725 (5th Cir. 2020) (stating that qualified individuals have a right to

“meaningful access”).

            B. Plaintiffs Lack a Private Cause of Action for Their VRA Claims

        Finally, the LUPE Plaintiffs’ claims under §§ 2 and 208 of the Voting Rights Act must be

dismissed because those statutes do not create a private cause of action. State Defendants will not

burden the Court with further briefing on these issues that they raised in their previous Motion to

Dismiss, ECF 53 at 24–29, because of the Court’s denial of these arguments during the November

16, 2021 status conference. State Defendants respectfully disagree with that ruling and raise these

arguments to preserve them for further review.

                                             CONCLUSION

        State Defendants respectfully request that the Court dismiss the claims against them.




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Date: January 5, 2022                Respectfully submitted.

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                                    CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on January 5, 2022, and that all counsel of record were served by CM/ECF.

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